                                                                                      FILED
                   CR 19 127                                                       IN CLERK'S OFFICE
                                                                               US DISTRICT COURT E.D.N.Y.

                                    INFORMATION SHEET                               MAR 0 8 2019 *
                           UNITED STATES DISTRICT COURT                        BROOKLYN OFFICE
                           EASTERN DISTRICT OF NEW YORK



        Title of Case: United States v. Lucio Celli

        Related Magistrate Docket Number(s): 18-MJ-llOl

        Arrest Date:   11/14/2018                                   DONNELLY, J.
        Nature of offense(s):        Felony
                                □    Misdemeanor                    TISCiONE, M.J.
        Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local
        E.D.N.Y. Division of Business Rules): None

        Projected Length of Trial:    Less than 6 weeks        13
                                      More than 6 weeks        □


        County in which crime was allegedly committed: Brooklyn
        (Pursuant to Rule 50.1(d) of the Local E.D.N.Y. Division of Business Rules)

8.      Was any aspect of the investigation, inquiry and prosecution giving rise to the case
        pending or initiated before March 10,2012.'                 DYes 13 No

        Has this indictment/information been ordered sealed?        DYes     13 No


10.     Have arrest warrants been ordered?                          □Yes     13 No


11.     Is there a capital count included in the indictment?        □Yes     (3 No


                                                      RICHARD P. DONOGHUE
                                                      United States Attorney

                                              By:
                                                      Kayl^ensini
                                                      Assistant U.S. Attorney
                                                      (718) 254-6279


        Judge Brodie wi ll not accept cases that were initiated before March 10, 2012.



Rev. 10/04/12
